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                            IN THE UNITED STATES DISTRICT COURT
                            FOR THE NORTHERN DISTRICT OF TEXAS
                                      DALLAS DIVISION


KARIN RENEE WEST                                   )
                                                   )
                         Plaintiff,                )
                                                   )
V.                                                 )
                                                   )
JENKINS, WAGNON & YOUNG, P.C.                      )
                                                   )
                         Defendant.                )   Civil Action No. 3:18-CV-01693-C


                                              ORDER

         On this day, the Court considered:

         ( 1) Defendant's Rule 12(b)( 6) Motion to Dismiss, filed September 12, 2018;
         (2) Defendant's Brief in Support of Defendant's Rule 12(b)(6) Motion to Dismiss, filed
         September 12, 2018;
         (3) Defendant's Appendix in Support of Defendant's Rule 12(b)(6) Motion to Dismiss,
         filed September 12, 2018, and;
         (4) Plaintiffs Brief in Response to Defendant's Rule 12(b)(6) Motion to Dismiss, filed
         October 3, 2018.

         Having considered the foregoing, this Court finds that the Defendant's Motion to Dismiss

should be GRANTED.

                                        I.     BACKGROUND

      Based on the pleadings, it is this Court's understanding that Karin Renee West ("Plaintiff')

secured a line of credit through Synchrony Bank ("Synchrony"). See Def. 's Br. ("Defendant's

Motion to Dismiss") at, 2. Plaintiff defaulted on her obligations owed to Synchrony, which

then totaled $3,398.28. Id. Accordingly, Synchrony then "charged off' Plaintiffs debt and

appeared to manifest no outward desire to collect on the loan-likely deeming the amount owed

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to be uncollectible. Id. However, the act of charging off debt does not mean it no longer exists

or is no longer owed by Plaintiff; rather, it simply indicates that the original creditor, Synchrony,

no longer intends to dedicate resources toward any attempts to collect on the loan. Synchrony

then sold the subject debt to Cavalry SPY I, LLC ("Calvary"), who retained Jenkins, Wagnon &

Young, P .C. ("Defendant") as counsel and revived efforts to recover the outstanding debt. Id.

   Accordingly, Defendant proceeded to send its initial validation letter on May 11, 2018-

which is the subject of dispute in the instant case. Id. at ,i 3. This letter contained the following

statements:

       "As of the date of this letter, according to our client's directions, the above amount is

   the total amount of the debt owed. The above is furnished for statutory purposes, is not

   to be treated as payoff and does not bar our client from seeking a different amount. At a

   later date our client may instruct our firm to collect additional amounts provided for in

   aforementioned Agreement/Contract or pursuant to state law" (emphasis added). See

   Pl.'s First Am. Compl. ("FAC") at ,i 19.

The letter in question appears to be printed on the Defendant's law firm letterhead and bares the

signature of Dan Young, an attorney and employee of the Defendant. See Def.'s Appx. at 7.

Moreover, the Defendant's correspondence appears to be a "form letter" designed for mass

circulation and has been alleged by the Plaintiff to lack meaningful legal review. Plaintiff brings

these claims under the Fair Debt Collection Practices Act ("FDCP A") and the Texas Debt

Collection Act ("TDCA"). In response, the Defendant has raised this 12(b)(6) Motion to

Dismiss to address the above claims.




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                                         II.     STANDARD

   When considering a motion to dismiss under Rule 12(b)(6), district courts must construe

allegations in the light most favorable to the pleader and must accept as true all well-pleaded

facts contained in the complaint. Lowrey v. Tex. A&M Univ. Sys., 117 F.3d 242,247

(5th Cir. 1997). Complaints must plead "enough facts to state a claim to relief that is plausible

on its face." Bell Atl. Corp. v. Twombly, 550 U.S. 544 (2007). Such a complaint need not

include detailed factual allegations, rather the "allegations must be enough to raise a right to

relief above the speculative level, on the assumption that all the allegations in the complaint are

true (even if doubtful in fact)." Id. at 555. "A claim has facial plausibility when the plaintiff

pleads factual content that allows the court to draw the reasonable inference that the defendant is

liable for the misconduct alleged." Ashcroft v. Iqbal, 556 U.S. 662 (2009).

                                        III. DISCUSSION

       The Plaintiff correctly stated in her briefing that the United States Supreme Court defined

the FDCPA's goal as "eliminate[ing] abusive debt collection practices." Jerman v. Carlisle,

McNellie, Rini, Kramer & Ulrich LPA, 559 U.S. 573, 577 (2010). However, when read in its

entirety, this same quote continues to clarify that the FDCP A also functions "to ensure that debt

collectors who abstain from such practices are not competitively disadvantaged, and to promote

consistent state action to protect consumers." Id. The FDPCA provides that "a debt collector

may not use any false, deceptive, or misleading representation or means in connection with the

collection of any debt." 15 U.S.C. § 1692(e). Indeed, misrepresenting the legal status of a debt

would violate this mandate. Sanders v. Zwicker & Ass., P.C., No. 3:13-CV-3998 2014 WL

11456070, *5 (N.D. Tex Sept. 9, 2014). Furthermore, "a debt collector may not use 'any false

representation or deceptive means to collect or attempt to collect any debt or to obtain



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information concerning a consumer."' Id. (quoting 15 U.S.C. § 1629e(10)). The very nature of

the FDPCA is that of a strict liability statute. See Walker v. Pharia, LLC, 2010 WL 565654, *3

(N.D. Tex. Feb. 18, 2010).

        In the present case, Plaintiff alleges that any right to add additional amounts-such as

interest, costs, collection fees-was effectively waived by Synchrony when the subject debt was

initially charged off. Plaintiff points to the bank's decision to cease sending collection letters

regarding the debt 18 months prior to the Defendant's initial letter. Moreover, Plaintiff claims

that the initial decision to keep the balance of the subject debt at $3,398.28 for a continuous 18

month period further demonstrates a waiver of the right to add additional amounts that would

bind subsequent owners of the debt. Accordingly, Plaintiff contends that the Defendant violated

15 U.S.C. § 1692(e) by including false language in its initial demand letter, which claimed that it

had a right to "collect additional amounts" should Cavalry instruct it to do so. Similarly,

Plaintiff also claims that Defendant violated the FDPCA by engaging in deceptive collection

practices. To this point, Plaintiff argues that the acts of printing the initial demand letter on legal

letterhead and signing the letter despite "complete lack of any meaningful review" each

constitute strategic decisions aimed to coerce a debtor into expeditiously repaying the subject

amount.

        On the other hand, Defendant asserts that the language of its initial letter to Plaintiff

constitutes a "simple truism" that would not confuse a less sophisticated consumer. In other

words, Defendant asserts that the letter's language merely conveys the possibility that its client

may instruct it to collect additional amounts; however, the letter never states that the firm could

collect additional amounts. Under this interpretation, the letter cannot be considered inherently

deceptive because it lacks definite language tailored to the Plaintiffs situation. Furthermore,



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Defendant classifies Plaintiffs secondary allegations regarding its collection practices as "rank

conclusory speculation."

        This Court agrees that the letter's statements must be evaluated though the lens of a less

sophisticated consumer. Goswami v. Am. Collections Enter., Inc. 377 F.3d 488,495

(5th Cir. 2004). When deciding whether a debt collection letter violates the FDCPA, courts must

consider whether the communication arises to a threshold level of deception. Here is the

question that courts must seek to answer: Was the letter misleading enough to effectively dupe a

less sophisticated consumer? Id. at 495. However, to apply this standard properly does not

require an assumption that a less sophisticated consumer rests on "the very last rung on the

sophistication ladder." Id. The less sophisticated consumer is neither foolish, nor irrational, nor

a dolt. Ellis v. Solomon and Solomon, P.C., 591 F.3d 130, 135 (2nd Cir. 2010) (citing Russel v.

Equifax A.R.S. 74 F.3d 30, 34 (2nd 1996). Courts must assume that the "less sophisticated

consumer" is merely inexperienced yet reasonable in nature. Surely, such an individual would

be capable of reading this letter and understanding the plain language meaning of its contents.

       Accordingly, this Court believes that the statements contained within the Defendant's

letter would not mislead a less sophisticated consumer. Indeed, it is certainty true that a client

may decide to instruct an attorney to take a more aggressive route to achieve an intended goal.

The letter does not say that the Defendant is willing and legally able to add additional amounts to

the subject debt if its client asks; instead, the statements merely indicate the potential for such an

outcome as "provided for in aforementioned Agreement/Contract or pursuant to state law." The

language used to construct this sentence appears easy enough to comprehend; moreover, it

strikes this Court as downright frivolous to dispute the truthfulness of the underlining statement.

See Taylor v. Cavalry Inv. LLC., 365 F.3d 572 (7th Cir. 2004). The statements in the



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Defendant's letter hold true even if the initial loan agreement and applicable law precluded the

Defendant from seeking additional amounts. Therefore, this Court will not opine as to whether

Synchrony's decisions regarding the Plaintiffs account bar Calvary from seeking additional

amounts.

       Correspondingly, this Court views the Plaintiffs secondary allegations regarding the

Defendant's debt collection practices as merely suggestive that the possibility of misconduct

exists. A complaint must allege "sufficient factual matters, accepted as true, to state a claim that

is plausible on its face." See Iqbal, 556 U.S. at 663 (quoting Twombly, 550 U.S. at 679). Facts

must be well pleaded and not simply "permit the court to infer more than the mere possibility of

misconduct," in order to survive a Rule 12(b)(6) motion. Id. at 679. Such is simply not the case

here. The Plaintiff alleges that the Defendant's attorneys "could not have engaged in a

meaningful review of each collection letter sent and the underlying account(s) associated with

those letters." See Pl. 's First Am. Compl., ,r 33. However, this allegation is conclusory and the

only supporting evidence the Plaintiff cites to are the "nature of the signature" and the "nature of

numerous complaints [against the Defendant law firm]." Id. It cannot be said that the

appearance of an electronic signature on a page is immediately indicative of an absence of

meaningful attorney review.

       Similarly, for this Court to consider the mere existence of pending complaints against the

Defendant-each standing separate and apart from the case at hand-is inadvisable. The

Plaintiff does not provide any further information regarding these suspect "numerous

complaints" save for the simple fact that they are alleged to exist. This Court cannot reasonably

agree with the Plaintiffs conclusions. It is the Plaintiffs burden to assert specific factual




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allegations to support her claim, and this Court is of the opinion that Plaintiff has not met this

burden and demonstrated entitlement to relief.

                                        IV. CONCLUSION

       For the foregoing reasons, this Court finds that the Defendant's Motion to Dismiss should

be GRANTED.                        j
       SO ORDERED this       _i! d;y of April, 2019.                                       .




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